Case 20-10846 Doc 1578 Filed 06/09/22 Entered 06/09/22 11:41:50 Main Document Page 1 of
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                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF LOUISIANA

                                                  §
    IN RE:                                        §      CASE NO: 20-10846
                                                  §
    THE ROMAN CATHOLIC CHURCH OF                  §      CHAPTER 11
    THE ARCHDIOCESE OF NEW                        §
    ORLEANS,                                      §      SECTION A
                                                  §
    DEBTOR.



                                               ORDER

          IT IS ORDERED sua sponte that a status conference will be held on Monday, June 13,

   2022, at 9:30 a.m., to discuss the temporary limitations that were imposed by the Court on the

   Protective Order governing discovery. Interested parties may participate in the hearing either in

   person at 500 Poydras Street, Courtroom B-709, New Orleans, LA 70130 or via teleconference,

   dial-in number 888-684-8852, Access Code: 9318283.

          New Orleans, Louisiana, June 9, 2022.



                                                      _____________________________________
                                                                MEREDITH S. GRABILL
                                                       UNITED STATES BANKRUPTCY JUDGE
